DOCUMENTS UNDER SEAL
                    Case 3:18-cr-00278-WHA Clear
                                            Document
                                                 Form 15 Filed 07/18/18 Page 19of
                                                           TOTAL TIME (m ins):
                                                                                  1
                                                                               minutes
M AGISTRATE JUDGE                          DEPUTY CLERK                             REPORTER/FTR
M INUTE ORDER                              Elaine Kabiling                          10:28-10:37
MAGISTRATE JUDGE                           DATE                                     NEW CASE         CASE NUMBER
Joseph C. Spero                            07/18/2018                                              3:18-cr-00278-WHA-1
                                                       APPEARANCES
DEFENDANT                                   AGE      CUST  P/NP   ATTORNEY FOR DEFENDANT                  PD.     RET.
Emmanuel Gonzalez Sanchez                            Y        P       Ed Swanson                          APPT.
U.S. ATTORNEY                               INTERPRETER                            FIN. AFFT            COUNSEL APPT'D
Nikhil Bhagat for Sheila Armbrust          Melinda Basker, Spanish                 SUBMITTED

PROBATION OFFICER            PRETRIAL SERVICES OFFICER                DEF ELIGIBLE FOR            PARTIAL PAYMENT
                             Brad Wilson                              APPT'D COUNSEL              OF CJA FEES
                                         PROCEEDINGS SCHEDULED TO OCCUR
        INITIAL APPEAR              PRELIM HRG       MOTION           JUGM'T & SENTG                         STATUS
                                                                                                             TRIAL SET
        I.D. COUNSEL                ARRAIGNMENT              BOND HEARING          IA REV PROB. or           OTHER
                                                                                   or S/R
        DETENTION HRG               ID / REMOV HRG           CHANGE PLEA           PROB. REVOC.              ATTY APPT
                                                                                                             HEARING
                                                      INITIAL APPEARANCE
        ADVISED                 ADVISED                      NAME AS CHARGED          TRUE NAME:
        OF RIGHTS               OF CHARGES                   IS TRUE NAME
                                                         ARRAIGNM ENT
        ARRAIGNED ON                 ARRAIGNED ON              READING W AIVED            W AIVER OF INDICTMENT FILED
        INFORMATION                  INDICTMENT                SUBSTANCE
                                                           RELEASE
      RELEASED             ISSUED                     AMT OF SECURITY         SPECIAL NOTES             PASSPORT
      ON O/R               APPEARANCE BOND            $ 50,000                                          SURRENDERED
                                                                             Unsecured
                                                                                                        DATE: Forthwith
PROPERTY TO BE POSTED                           CORPORATE SECURITY                       REAL PROPERTY:
    CASH    $


      MOTION           PRETRIAL                 DETAINED          RELEASED       DETENTION HEARING            REMANDED
      FOR              SERVICES                                                  AND FORMAL FINDINGS          TO CUSTODY
      DETENTION        REPORT                                                    W AIVED
ORDER REMOVED TO THE DISTRICT OF
                                                              PLEA
    CONSENT                     NOT GUILTY                   GUILTY                  GUILTY TO COUNTS:
    ENTERED
    PRESENTENCE                 CHANGE OF PLEA               PLEA AGREEMENT          OTHER:
    REPORT ORDERED                                           FILED
                                                         CONTINUANCE
TO:    (Previously Set):            ATTY APPT               BOND                   STATUS RE:
8/14/2018                           HEARING                 HEARING                CONSENT                TRIAL SET

AT:                                 SUBMIT FINAN.             PRELIMINARY          CHANGE OF              STATUS
                                    AFFIDAVIT                 HEARING              PLEA
2:00 PM                                                       _____________
BEFORE HON.                         DETENTION                 ARRAIGNMENT          MOTIONS                JUDGMENT &
                                    HEARING                                                               SENTENCING
Alsup
        TIME W AIVED                TIME EXCLUDABLE           IDENTITY /           PRETRIAL               PROB/SUP REV.
                                    UNDER 18 § USC            REMOVAL              CONFERENCE             HEARING
                                    3161                      HEARING
                                                  ADDITIONAL PROCEEDINGS
Gov't withdraws their previous request for remand. Deft is admonished re: bond conditions. Bond conditions signed and filed
this date.

CC: WHA                                                                                  DOCUMENT NUMBER:
